         Case 1:14-cr-00030-JRH-BKE Document 88 Filed 08/29/14 Page 1 of 1



                   IN THE UNITED STATES DISTRICT COURT

                   FOR THE SOUTHERN DISTRICT OF GEORGIA

                              AUGUSTA DIVISION



UNITED STATES OF AMERICA             )

     vs.                             )       CASE NUMBER:    1:14CR030

JARON JERMAINE WALLACE               )



IN RE:       WILLIAM J.   SUSSMAN APPLICATION FOR LEAVE OF ABSENCE

                                     ORDER


     HAVING BEEN READ AND CONSIDERED, the foregoing Application

for Leave of Absence,      said Leave of Absence is hereby granted to

Applicant, William J. Sussman, for the following dates:

     Thursday, October 9, 2014 through and including Monday,

October 13, 2014 for family vacation

     Monday, November 24, 2014 through and including Monday,

December 1, 2014 for family vacation

     Thursday, December 18, 2014 through and including Wednesday,

January 7, 2015 for family vacation

             and applies to all proceedings of any kind including

but not limited to any depositions and hearings which might be

scheduled or noticed in the above case.

     SO ORDERED this ^KT/^day of             £aUaLsa&£         2014.



                                           J. R&tiP&E HAL!
                                           U.S.   DISTRICT JUDGE
                                          .SOUTHERN DISTRICT OF GEORGIA
